


  PER CURIAM.
 

  Victor L. Parker seeks belated appeal from an order of the circuit court denying his petition for writ of mandamus. Because the proceedings below did not involve imposition of judgment and sentence or denial of a rule 3.800 or 3.850 motion, the remedy of belated appeal is unavailable and the petition must be denied.
  
   See Powell v. Fla. Dep’t of Corr.,
  
  727 So.2d 1103 (Fla. 1st DCA 1999). Petitioner’s remedy, if any, lies with the circuit court.
  
   See Milord v. Fla. Parole Comm’n,
  
  4 So.3d 762 (Fla. 1st DCA 2009)(Browning, J., con- ' curring).
 

  DENIED.
 

  HAWKES, C.J., PADOVANO and ROBERTS, JJ., concur.
 
